Case 6:18-cr-00070-CEM-TBS Document 28 Filed 08/16/18 Page 1 of 1 PageID 56




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                                         Case No: 6:18-cr-70-Orl-41TBS

MARC MALACASO

                                                                          AUSA: Vincent Chiu

                                        Defense Attorney: Vincent A. Citro, Retained Counsel

 JUDGE:         CARLOS E.                DATE AND TIME:                        August 16, 2018
                MENDOZA                                                          9:38-9:41 A.M.
                United States            TOTAL TIME:   3
                District Judge           MINUTES


 DEPUTY         Darleen Darley           REPORTER:                            Suzanne Trimble
 CLERK:                                                            trimblecourtreporter@gmail.
                                                                                         com
 INTERPRETER:   None                     PRETRIAL/PROB:                         No Appearance
 TOTAL TIME     3 minutes


                               CLERK’S MINUTES
                        CRIMINAL STATUS CONFERENCE
      9:38-9:41 a.m.        Court grants in part Government’s Motion to Continue and
                            Administratively close this case (Doc. 27). The Court continues
                            this matter for 18 months and sets a status conference at 9:30 a.m.
                            on February 20, 2020 to allow defendant to complete his pretrial
                            division agreement.
                            After considering all the factors, including those set forth in 18
                            U.S.C. § 3161(h)(7)(B), and for the reasons stated on the record at
                            the status conference, the Court finds that the ends of justice are
                            served by granting such continuance and that granting said
                            continuance outweighs the best interest of the public and the
                            defendant in a speedy trial. The Court, therefore, determines that
                            the time from today 8/16/18 until the end of the February 2020 trial
                            term shall be "excludable time" pursuant to 18 U.S.C. § 3161(h).




                                        Page 1 of 1
